
(2008)
In re: BRIDGESTONE/FIRESTONE, INC., TIRES PRODUCTS LIABILITY LITIGATION
Starr F. Traylor
v.
Ford Motor Co., et al., E.D. Missouri, C.A. No. 1:07-166
Ruby Yarbrough, et al.
v.
Ford Motor Co., et al., E.D. Missouri, C.A. No. 1:07-167.
MDL No. 1373.
United States Judicial Panel on Multidistrict Litigation.
April 4, 2008.

TRANSFER ORDER
JOHN G. HEYBURN, II, Chairman.
Before the entire Panel:[*] Plaintiffs in these two actions move, pursuant to Rule 7.4, R.P.J.P.M.L., 199 F.R.D. 425, 435-36 (2001), to vacate our order conditionally transferring the actions to the Southern District of Indiana for inclusion in MDL No. 1373. Defendants Bridgestone/Firestone North American Tire LLC (Firestone) and Ford Motor Co. (Ford) oppose the motion to vacate.
After considering all argument of counsel, we find that these actions involve common questions of fact with the actions in this litigation previously transferred to the Southern District of Indiana, and that transfer of these actions to the Southern District of Indiana for inclusion in MDL No. 1373 will serve the convenience of the parties and witnesses and promote the just and efficient conduct of the litigation. We further find that transfer of these actions is appropriate for reasons that we set out in our original order directing centralization in this docket. In that order, we held that the Southern District of Indiana was a proper Section 1407 forum for actions involving allegations that Firestone and/or Ford are responsible for harm or risk of harm caused by their defective tires, defective vehicles, or both. See In re Bridgestone/Firestone, Inc., ATX, ATX II and Wilderness Tires Products Liability Litigation, MDL No. 1373, 2000 U.S. Dist. LEXIS 15926 (J.P.M.L. Oct. 24, 2000).
Plaintiffs can present their motions for remand to state court to the transferee court. See, e.g., In re Ivy, 901 F.2d 7 (2nd Cir.1990); In re Prudential Insurance Company of America Sales Practices Litigation, 170 F.Supp.2d 1346, 1347-48 (J.P.M.L.2001).
IT IS THEREFORE ORDERED that, pursuant to 28 U.S.C. § 1407, these two actions are transferred to the Southern District of Indiana and, with the consent of that court, assigned to the Honorable Sarah Evans Barker for inclusion in the coordinated or consolidated pretrial proceedings occurring there in this docket.
NOTES
[*]  Judge Scirica took no part in the decision of this matter.

